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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11 (Subchapter V)

    TENTRR, INC.,                                                      Case No. 23-10000 (BLS)

                               Debtor1.



     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY AND
       DISCLAIMERS REGARDING DEBTOR’S SCHEDULES OF ASSETS AND
             LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       On January 2, 2023 (the “Petition Date”), Tentrr, Inc. (the “Debtor”), as debtor and
debtor-in-possession, commenced the above captioned voluntary subchapter V, chapter 11 case
(the “Subchapter V Case”), in the United States Bankruptcy Court in the District of Delaware
(the “Bankruptcy Court”). The Debtor continues to operate its business and manage its property
as debtor and debtor in possession, pursuant to section 1181 of the Bankruptcy Code.

        The Debtor has filed its Schedule of Assets and Liabilities (the “Schedules”) and Statement
of Financial Affairs (the “SOFA”) with the Bankruptcy Court. The Debtor, with the assistance of
its advisors, prepared the Schedules and SOFA in accordance with section 521 of title 11 of the
United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”) with unaudited information available as of the Petition Date.

       These Global Notes and Statement of Limitations, Methodology and Disclaimers
Regarding Debtor’s Schedules of Assets and Liabilities and Statement of Financial Affairs (these
“Global Notes”) are incorporated by reference in, and comprise an intricate part of, each of the
Debtor’s schedules, sub- Schedules, Statements, Statements’ exhibits, and continuation sheets, and
should be referred to in connection with any review of the Schedules and SOFA. Disclosure of
information in one Schedule, sub-Schedule, Statement, sub-Statement, exhibit, or continuation
sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct Schedule,
Statement, exhibit, or continuation sheet.

      The Schedules and SOFA in these Global Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of the Debtor.

Reservation of Rights. While the Debtor’s management and advisors have made reasonable
efforts and conducted due diligence to ensure that its Schedules and SOFA are as accurate and
complete as possible under the circumstances based on the information available at the time of


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             The last four digits of the Debtor’s taxpayer identification number are 8843.


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preparation, subsequent information or discovery may result in material changes to these
Schedules and SOFA, and inadvertent errors, inaccuracies, or omissions may have occurred.

        Because the Schedules and the SOFA contain unaudited information, which is subject to
further review, verification, and potential adjustment, there can be no assurance that these
Schedules and SOFA are complete. The Debtor reserves all rights to amend or supplement its
Schedules and SOFA from time to time, in all respects, as may be necessary or appropriate,
including, without limitation, the right to amend the Schedules and SOFA with respect to a claim
(as defined in section 101(5) of the Bankruptcy Code “Claim”) description or designation; dispute
or otherwise assert offsets or defenses to any Claim reflected in the Schedules and SOFA as to
amount, liability, priority, status, or classification; subsequently designate any Claim as
“disputed,” “contingent,” or “unliquidated;” or object to the extent, validity, enforceability,
priority, or avoidability of any Claim. Nothing contained in the Schedules and SOFA shall
constitute a waiver of any right of the Debtor or an admission with respect to the Subchapter V
Case (including, but not limited to, issues involving Claims, defenses, equitable subordination,
and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and any
other relevant non-bankruptcy laws to recover assets or avoid transfers”).

        The Debtor has made reasonable efforts to characterize, classify, categorize or designate
the Claims, assets, executory contracts, unexpired leases, and other items reported in the Schedules
and SOFA correctly. However, the Debtor may have improperly characterized, classified,
categorized or designated certain items. In addition, certain items reported in the Schedules and
SOFA could be included in more than one category. In those instances, one category has been
chosen to avoid duplication. Further, the designation of a category is not meant to be wholly
inclusive or descriptive of the rights or obligations represented by such item.

        The Debtor and its agents, attorneys and financial advisors do not guarantee or warrant the
accuracy or completeness of the data that is provided herein, and will not be liable for any losses
or injury arising out of or caused in whole or in part by the acts, errors, or omissions in procuring,
compiling, collecting, interpreting, reporting, communicating, or delivering the information
contained herein. In no event will the Debtor or its agents, attorneys and/or financial advisors be
liable to any third party for any direct, indirect, incidental, consequential, or special damages
(including, but not limited to, damages arising from the allowance of a potential claim against the
Debtor or damages to business reputations, lost business or lost profits), whether foreseeable or
not, and however caused, as a result of the information in these Schedules and SOFA.

       Anand Subramanian, the Chief Executive Officer of the Debtor, has signed the Schedules
and SOFA. Mr. Subramanian is an authorized signatory for the Debtor. In reviewing and signing
the Schedules and SOFA, Mr. Subramanian has necessarily relied upon the efforts, statements, and
representations of various third parties involved in the Debtor’s operations. Mr. Subramanian, has
not (and could not have) personally verified the accuracy of each such statement and
representation, including statements and representations concerning amounts owed to creditors.




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                          Global Notes and Overview of Methodology

Basis of Presentation. The Debtor’s Schedules and SOFA do not purport to represent statements
prepared in accordance with Generally Accepted Accounting Principles in the United States
(“GAAP”), nor are they intended to be fully reconciled to the financial statements of the Debtor.
The Schedules and SOFA contain unaudited information that is subject to further review and
potential adjustment. The Schedules and SOFA reflect the Debtor’s reasonable good faith efforts
to report the assets and the liabilities of the Debtor.

         Moreover, given, among other things, the uncertainty surrounding the valuation and nature
of certain of the Debtor’s assets and liabilities, the fact that the Debtor shows more assets than
liabilities is not an admission that the Debtor was solvent on the Petition Date or at any time prior
to the Petition Date. Likewise, nothing in the Schedules or SOFA is an admission that the Debtor
was insolvent at the Petition Date or any time prior to the Petition Date.

                    General Disclosure Applicable to Schedules and SOFA

Recharacterization. The Debtor has made reasonable efforts to correctly characterize, classify,
categorize or designate certain claims, assets, executory contracts, unexpired leases, and other
items reported in the Schedules and SOFA. However, the Debtor nonetheless may have improperly
characterized, classified, categorized or designated certain items. Thus, the Debtor reserves all
rights to recharacterize, reclassify, recategorize or redesignate certain items reported in the
Schedules and SOFA at a later time as is necessary or appropriate.

Unliquidated Claim Amounts. Claim amounts that could not be readily quantified by the Debtor,
or which are not yet fixed in amount, are scheduled as “unliquidated.”

Totals. All totals that are included in the Schedules and SOFA represent totals of all known and
estimated amounts included in the Schedules and SOFA. To the extent there are unknown,
disputed, contingent, unliquidated, or otherwise undetermined amounts, the actual totals may be
materially different than the listed total. The description of an amount as “unknown,” “disputed,”
“contingent,” “unliquidated,” or “undetermined” is not intended to reflect upon the materiality of
such amount. Due to unliquidated, contingent and/or disputed claims, it is possible that the
summary statistics in the Schedules, SOFA and Global Notes may understate the Debtor’s
liabilities.

Undetermined, to be Determined or Unknown Amounts. The description of an amount as
“undetermined,” “to be determined,” or “unknown” is not intended to reflect upon the materiality
of such amount. Certain amounts may be clarified during the course of the Subchapter V Case.

Valuation. It would be prohibitively expensive, unduly burdensome, and an inefficient use of
estate assets, for the Debtor to obtain current market valuations of all its assets. Unless otherwise
indicated, the Schedules and the SOFA reflect the net book values as of the Petition Date. Many
of the Debtor’s tangible assets have been fully depreciated, and, therefore having book value of
zero, even though they may have a higher fair market value. Amounts ultimately realized may vary
from net book value, and such variance may be material.

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Pledged Assets. Substantially all of the assets listed on Debtor’s Schedule A/B have been pledged
as collateral by the Debtor to secure certain obligations. Assets pledged as collateral are more fully
described in the Motion of the Debtor for Interim and Final Orders: (i) Authorizing the Debtor to
Obtain Postpetition Financing; (ii) Granting Security Interests and Superpriority Administrative
Expense Status; (iii) Modifying the Automatic Stay; (iv) Authorizing Use of Cash Collateral; (V)
Granting Adequate Protection; (vi) Scheduling a Final Hearing and (vii) Granting Related Relief
[Docket No. 16].

Leases and Executory Contracts. Nothing herein or in the Schedules or SOFA shall be construed
as a concession, admission or evidence as to the determination of the legal status of any leases
identified in the Schedules or SOFA, including whether such leases: (i) constitute an executory
contract within the meaning of section 365 of the Bankruptcy Code or other applicable law; (ii)
have not expired or been terminated or otherwise are not currently in full force and effect, or (iii)
are not true leases at all, and are instead secured financings, and the Debtor reserves all of its rights.

Liabilities. Some of the scheduled liabilities are unknown, contingent, and/or unliquidated at this
time. In such cases, the amounts are listed as “unknown,” “to be determined,” or “undetermined.”
Accordingly, the total amount listed for some categories of liabilities in the Schedules and the
SOFA may not be equal to the aggregate amount of the Debtor’s total liabilities as noted on any
financial statement issued prior to the Petition Date.

First Day Orders. The Bankruptcy Court has authorized (each, a “First Day Order”) the Debtor
to pay, in whole or in part, various outstanding prepetition claims, including but not limited to,
certain payments relating to the Debtor’s employee wages and compensation, benefits, and
reimbursable business expenses; goods and services ordered prepetition but received postpetition,
insurance obligations, and critical parties’ claims. Given that certain of these claims have been
paid or are anticipated to be paid in accordance with the First Day Orders, such claims may not be
listed in the Schedules, notwithstanding that such claims existed as of the Petition Date or may
otherwise be listed as “unknown” or “to be determined”.

        The Debtor reserves its right to object to any listed claims on the ground that, among other
things, such claims have already been satisfied pursuant to a First Day Order or otherwise satisfied
during the pendency of the Subchapter V Case. The estimate of claims set forth in the Schedules
may not reflect assertions by the Debtor’s creditors of a right to have such claims paid or
reclassified under the Bankruptcy Code or orders of the Bankruptcy Court.

Liens. The inclusion on Schedule D of creditors is not an acknowledgment of the validity, extent,
or priority of any liens, and the Debtor reserves its right to challenge such liens and the underlying
claims on any grounds whatsoever. A careful review of the applicable agreements and other
relevant documents is necessary for a complete description of the collateral and the nature, extent
and priority of any liens. Nothing in these Global Notes or the Schedules and SOFA shall be
deemed a modification or interpretation of the terms of such agreements or acknowledgment of
same. Certain liens may have been inadvertently marked as disputed but had previously been
acknowledged in an order of the court as not being disputed by the Debtor. It is not the Debtor’s
intent that the Schedules be construed to supersede any orders entered by the Bankruptcy Court.



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Insiders. The Person listed as an “insiders” has been included for informational purposes only and
does not constitute an admission that such individuals is an insider for purposes of the Bankruptcy
Code or otherwise. The Debtor does not take any position with respect to: (a) such person’s
influence over the control of the Debtor; (b) the management responsibilities or functions of such
individual; (c) the decision-making or corporate authority of such individual; or (d) whether such
individual could successfully argue that he or she is not an “insider” under applicable law,
including the federal securities laws, or with respect to any theories of liability or for any other
purpose.

     SPECIFIC DISCLOSURES WITH RESPECT TO THE DEBTOR’S SCHEDULES

Summary of Assets and Liabilities for Non-Individuals.

        Part 1, 1c. Total of all property includes an unused net operating loss (“NOL”) with a book
         value of $20,612,204.00. The Debtor is unsure whether this NOL can be monetized, and if
         it can be monetized, the Debtor believes its value is considerably less than the stated book
         value. The total scheduled value of the Debtor’s assets, without the NOL is $1,982,677.

Schedule A/B Notes.

        General. The Debtor’s assets in Schedule A/B are listed at net book value as of the Petition
         Date, unless otherwise noted, and may not necessarily reflect the market or recoverable
         value of these assets as of the Petition Date.

        Schedule A/B, Part 3-Accounts Receivable, Item 11. The Debtor’s reported accounts
         receivable include amounts that may be uncollectible. Notwithstanding the foregoing, the
         Debtor has use reasonable efforts to deduct doubtful or uncollectible accounts.

        Schedule A/B, Part 5 – Inventory, Excluding Agricultural Assets, Item 26. The Debtor
         has recently commissioned a formal appraisal of certain of its assets. The Debtor has not
         yet received the final version of this valuation but expects to receive the final appraisal
         shortly.

        Schedule A/B, Part 8 – Machinery, Equipment, and Vehicles, Item 53. The Debtor has
         recently commissioned a formal appraisal of certain of its assets. The Debtor has not yet
         received the final version of this valuation but expects to receive the final appraisal shortly.

        Schedule A/B, Part 10 - Intangibles and Intellectual Property, Items 59 to 66. The
         Debtor reports intellectual property assets at net book value based on the Debtor’s books
         and records whenever applicable. The Debtor has not listed or assigned any value for its
         goodwill. As described in the Declaration of Anand Subramanian in Support of Chapter
         11 Petition and First Day Motions (the “Subramanian Declaration”) filed on January 4,
         2023 [Docket No. 17], the Debtor maintains an electronic platform through which potential
         campers can book a stay at campsites listed thereon (the “Platform”). The Debtor list the
         value of the Platform (which it calls the “Tentrr Proprietary Marketplace” in its schedules)

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         as undetermined. As set forth in the Subramanian Declaration, the Platform is integral to
         the operations of the Debtor’s business, and as such, the Platform has great value to the
         Debtor. From an accounting point of view, the Debtor's goodwill would be equal to the
         positive shareholder equity on the Petition Date. In reality, the Debtor has much greater
         value as a going concern, and therefore goodwill is a large part of the Debtor's enterprise
         value. The Debtor believes that in terms of tangible assets, it would cost more to dismantle
         the assets, then the assets are worth.

        Schedule A/B. Part 11, All Other Assets. Item 72. Although the Debtor includes
         $20,612,204 of net operating loss carry forwards in its assets, there is no guarantee that the
         full amount of the net operating losses can ever be utilized by the Debtor or monetized in
         some other way.
Schedule D Notes.

        Creditors’ claims on Schedule D arose, or were incurred, on various dates. In certain
         instances, the date on which such claim arose may be an open issue of fact.

        Except as otherwise agreed in accordance with a stipulation and order entered by the
         Bankruptcy Court, the Debtor reserves its right to dispute or challenge the validity,
         perfection, or immunity from avoidance of any lien listed on the Schedule D purported to
         be granted to a secured creditor or perfected in any specific assets.

        Certain claims are listed on Schedule D as “unliquidated” because the value of the collateral
         securing such potential claims is unknown. Moreover, although the Debtor may have
         scheduled claims of various creditors and secured claims, the Debtor reserves all rights to
         dispute or challenge the secured nature of any creditors claim or the characterization of the
         structure of any transaction or any document or instrument related to such creditors claim.

        The descriptions provided on Schedule D, including the description of the underlying
         collateral, are intended only as a summary. Reference to the applicable loan agreements
         and related documents is necessary for complete description of the collateral in the nature,
         extent and priority of any liens. Nothing in these Global Notes or in the Schedule and SOFA
         shall be deemed a modification, interpretation or an acknowledgment of the terms of such
         agreements or related documents.

        For purposes of these Schedules, the Debtor has treated Farnam Street Financial, Inc.
         ("Farnam") as a lessor, and hence an unsecured creditor. This should not in any way be
         construed as an admission or dispositive as to the nature of the relationship between
         Farnam and the Debtor. The relationship between Farnam and the Debtor is characterized
         in the relevant documents as a lease, but the Debtor may seek to recharacterize it as a
         secured financing. Farnam filed a UCC covering the alleged lease. If it is a secured
         financing and not a lease, Farnam would have a lien on the equipment purchased with
         Farnam's money. The Debtor reserves all rights with respect to the characterization of its
         obligations to Farnam.


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Schedule E/F Notes.

        The Debtor has made reasonable efforts to report all priority in general unsecured claims
         against the Debtor on Schedule E/F based on the Debtor’s books and records as of the
         Petition Date. However, the actual value of claims against the Debtor may vary
         significantly from represented liabilities.

        Parties in interest should not accept that the listed liabilities necessarily reflect the correct
         amount of any unsecured creditors allowed claims or in the correct amount of all unsecured
         claims. Similarly, parties in interest should not anticipate the recoveries in this case will
         reflect the relationship of the aggregate asset values and aggregate liabilities set forth in
         the Schedules. Parties in interest should consult their own professionals and advisors with
         respect to pursuing a claim. Although the Debtor and its professionals have generated
         financial information and data the Debtor believes to be reasonable, actual liabilities (and
         assets) may deviate significantly from the Schedules due to certain events that occur
         throughout this Subchapter V Case.

        The claims listed on Schedule E/F arose or were incurred in various dates. In certain
         instances, the date on which a claim arose may be unknown or subject to dispute. Although
         reasonable efforts have been made to determine the date upon which claims listed was
         incurred or arose, fixing that date for each claim in Schedule E/F would be unduly
         burdensome and cost prohibitive and, therefore, the Debtor has not listed a date for each
         claim listed on Schedule E/F.

        The Bankruptcy Court has authorized the Debtor to pay, in whole or in part, prepetition
         claims relating to the Debtor’s employee wages and compensation, benefits, and
         reimbursable business expense. Accordingly, the Debtor’s Schedule E/F only reflects those
         employees related claims due and owing as of the Petition Date for which the Debtor did
         not obtain relief from the Bankruptcy Court to satisfy in whole or in part.

        Schedule E/F, Part 1, Item 3.45. In the normal course of the Debtor's business, the Debtor
         offers gift cards for sale. Third parties can buy a gift card and present it as a gift to someone.
         All of the gift cards are bearer cards, and there is no way for the Debtor to determine the
         name or address of the creditor holding the gift card. Accordingly, the Debtor has recorded
         the entire liability for bearer gift cards on Schedule E/F under the name "Gift Cards".
         Although the liability is indicated, the Debtor is unable to indicate the name address of any
         creditors holding gift cards.


Schedule G Notes.

        The Debtor hereby reserves all rights to dispute the validity, status, or enforceability of any
         contracts, agreements or leases set forth in Schedule G and to amend or to supplement
         Schedule G as necessary. Additionally, the placing of a contract or lease onto Schedule G
         shall not be deemed an admission that such contract is an executory contract or unexpired
         lease, or that is necessarily a binding, valid, and enforceable contract. Any and all of the

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         Debtor’s rights, claims and causes of action with respect to the contracts and agreements
         listed on Schedule G are hereby reserved and preserved. In addition, the Debtor is
         continuing its review of all relevant documents and expressly reserves its right to amend
         all Schedules at a later time as necessary and/or to challenge the classification of any
         agreement as an executory contract or unexpired lease in any appropriate filing.

        Omission of a contract or agreement from Schedule G does not constitute an admission
         that such omitted contract or agreement is not an executory contract or unexpired lease.
         The Debtor’s rights under the Bankruptcy Code with respect to any such omitted contracts
         or agreements are not impaired by the omission. Debtor’s Schedule G may be amended at
         any time to add or remove, as the case may be, any omitted contract, agreement or lease.

        The contracts, agreements and leases listed on Schedule G may have expired or may have
         been rejected, terminated, assigned, modified, amended and/or supplemented from time to
         time by various amendments, change orders, restatements, waivers, estoppel certificates,
         letters, and other documents, instruments, and agreements that may not be listed there in
         or that may be listed as a single entry. The Debtor expressly reserves its rights to challenge
         whether such related materials constitutes an executory contract, a single contract or
         agreement, or multiple, severable, or separate contracts. The Debtor also reserves the right
         to challenge whether an executory contract listed in Schedule G, is in fact an executory
         contract at all or instead a secured financing.

        Certain of the leases and contracts listed on Schedule G may also be in the nature of
         conditional sales agreements or secured financing, and their inclusion on Schedule G is not
         an admission that the agreement is an executory contract, financing agreement, or
         otherwise.


                                   Statement of Financial Affairs

Statement Question 7 - Legal Actions. The Debtor has made reasonable best efforts to identify
all current pending litigation involving the Debtor. The Debtor reserves all of its rights and
defenses with respect to any and all lawsuits and administrative proceedings, irrespective of
whether they were listed in response to Statement Question 7.

Statement Question 9-Certain Gifts and Charitable Contributions. The Debtor listed the
value of product donations according to the base cost of such products.




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Debtor Name          Tentrr, Inc.
United States Bankruptcy Court for the District of Delaware
Case number (if known):             23-10000



                                                                                                                            Check if this is an
                                                                                                                            amended filing
Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional
pages, write the debtor's name and case number (if known).

Part 1:      Income



1. Gross Revenue from business


      None



      Identify the beginning and ending dates of the debtor's fiscal year, which may    Sources of Revenue                      Gross Revenue
      be a calendar year                                                                                                        (before deductions and
                                                                                                                                exclusions)
1.1                                  From Jan. 1, 2020      To     Dec. 31, 2020           Operating a business                 $4,196,452.70
                                                                                           Other



1.2                                  From Jan. 1, 2021      To     Dec. 31, 2021           Operating a business                 $4,971,681.86
                                                                                           Other



1.3                                  From Jan. 1, 2022      To     Dec. 31, 2022           Operating a business                 $4,785,136.09
                                                                                           Other



2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

  X None



                                                                                        Description of sources of               Gross Revenue from
                                                                                        revenue                                 each  source
                                                                                                                                (before deductions and
                                                                                                                                exclusions)




Part 2:      List Certain Transfers Made Before Filing for Bankruptcy



3. Certain payments or transfers to creditors within 90 days before filing this case
List payments of transfers - including expense reimbursements to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on
4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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     None

          Creditor's name and address            Dates                 Total amount or value              Reasons for payment or transfer
                                                                                                          Check all that apply
     See attached Exhibit SOFA3                                                                                    Secured Debt
                                                                                                                    Unsecured Loan Payments
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575.
(This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not
include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general
partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor.
11 U.S.C. § 101(31).

     None

          Insider's name and address             Dates                 Total amount or value              Reasons for payment or transfer
4.1 Anand Subramanian                              See attached
    25 W 39th St, Ste 7007                         Exhibit SOFA4
    New York, NY 10018




     Relationship to debtor
     CEO, Director, Beneficial Shareholder

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

  X None

          Creditor's name and address            Description of the property                              Date           Value of property



6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
debtor owed a debt.

  X None



     Creditor's name and address                       Description of the action creditor took            Date action was                     Amount
                                                                                                          taken




Part 3:        Legal Actions or Assignments



7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
involved in any capacity—within 1 year before filing this case.



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  X None



      Case title                               Nature of case                             Court or agency's name and address                 Status of case




8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands
of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

  X None



      Custodian's name and address             Description of the property                Value




Part 4:        Certain Gifts and Charitable Contributions



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate
value of gifts to that recipient is less than $1,000


      None



      Recipient's name and address                    Description of the gifts or contributions        Dates given                         Value

9.1       GoFundMe                                    Donation to funeral of Chelsea Farco's father    01/04/21                       $5,050.00
          855 Jefferson Ave
          Redwood City, CA 94063
          Recipient's relationship to debtor
          Employee Donation


      Recipient's name and address                    Description of the gifts or contributions        Dates given                         Value

9.2       GoFundMe                                    Donation to funeral of David Delanoy's           07/27/22                       $1,000.00
          855 Jefferson Ave                           brother
          Redwood City, CA 94063
          Recipient's relationship to debtor
          Employee Donation


Part 5:        Certain Losses



10. All losses from fire, theft, or other casualty within 1 year before filing this case.




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  X None



       Description of the property lost and          Amount of payments received for the loss Date of loss                         Value of property lost
       how the loss occurred                         If you have received payments to cover the
                                                     loss, for example, from insurance, government
                                                     compensation, or tort liability, list the total
                                                     received.
                                                     List unpaid claims on Official Form 106 A/B
                                                     (Schedule A/B: Assets - Real and Personal
                                                     Property).




Part 6:        Certain Payments of Transfers



11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the
filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking
bankruptcy relief, or filing a bankruptcy case.

       None



       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred
11.1      The Rosner Law Group LLC                                                                     12/28/22                      $12,000.00
          824 N Market St, Ste 810
          Wilmington, DE 19801
          Email or website address
          rosner@teamrosner.com
          Who made the payment, if not debtor?

       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred
11.2      Mayerson & Hartheimer PLLC                                                                   10/26/22                      $ 7,500.00
          845 3rd Ave, 11th Flr                                                                        11/17/22                      $10,000.00
          New York, NY 10022                                                                           12/19/22                      $ 6,500.00
                                                                                                       12/27/22                      $48,525.00
                                                                                                       12/28/22                      $50,000.00
                                                                                                       12/30/22                      $25,000.00




          Email or website address
          lawyers@mhlaw-ny.com
          Who made the payment, if not debtor?

       Who was paid or who received the              If not money, describe any property               Dates                      Total amount or value
       transfer? Address                             transferred
11.3      Omni Agent Solutions                                                                         12/29/22                      $ 5,000.00
          5955 De Soto Ave, Ste 100
          Woodland Hills, CA 91367
          Email or website address
          www.omniagentsolutions.com
          Who made the payment, if not debtor?

12. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this
case to a self-settled trust or similar device.


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Do not include transfers already listed on this statement.

  X None



       Name of trust or device                        Describe any property transferred                  Dates transfers             Total amount or value
                                                                                                         were made




13. Transfers not already listed on this statement
List any transfers of money or other property - by sale, trade, or any other means - made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

  X None



       Who received transfer? Address.                Description of property transferred or             Date transfer was           Total amount or value
                                                      payments received or debts paid in                 made
                                                      exchange.




Part 7:        Previous Locations



14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

       Does not apply

          Address                                                                                        Dates of occupancy
14.1      35 East Broadway, 4th Flr                                                                      Feb 2018 - Dec 2020
          New York, NY 10002

Part 8:        Health Care Bankruptcies



15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?
       No Go to Part 9.
       Yes. Fill in the information below.


          Facility name and address                  Nature of the business operation, including type of services the                If debtor provides meals
                                                     debtor provides                                                                 and housing, number of
                                                                                                                                      patients in debtor's care



                                                     Location where patient records are maintained                                      How are records kept?
                                                                                                                                           Electronically
                                                                                                                                            Paper

Part 9:        Personally Identifiable Information



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16. Does the debtor collect and retain personally identifiable information of customers?

     No
     Yes. State the nature of the information collected and retained.


     Does the debtor have a privacy policy about that information?
           No
           Yes.




17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

     No Go to Part 10.
     Yes. Does the debtor serve as plan administrator?


           No. Go to Part 10.
           Yes. Fill in below:
           Name of plan                                                                            Employer identification number of plan
                                                                                                   EIN:
           Has the plan been terminated?
              No
                  Yes


Part 10:        Certain Financial Accounts, Safe Deposit Boxes, and Storage Units



18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
houses, cooperatives, associations, and other financial institutions.

  X None



     Financial institution name and              Last 4 digits of account       Type of account      Date account was closed,          Last balance before
     address                                     number                                              sold, moved, or                    closing or transfer
                                                                                                     transferred
                                                                                    Checking
                                                                                    Savings
                                                                                    Money Market
                                                                                    Brokerage
                                                                                    Other




19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
case.

  X None



     Depository institution name and         Names of anyone with access to it.            Description of contents                             Does debtor



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     address                                  Address                                                                                             still have it?
                                                                                                                                                       No

                                                                                                                                                       Yes




20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

     None



     Facility name and address                Names of anyone with access to it.             Description of contents                              Does debtor
                                              Address                                                                                             still have it?
20.1 9831 State Highway 23                    James Hanley                                   Campsite Equipment                                        No
     Oneonta, NY 13820                        25 W 39th St
                                              New York, NY 10018                                                                                       Yes




     Facility name and address                Names of anyone with access to it.             Description of contents                              Does debtor
                                              Address                                                                                             still have it?
20.2 434 E 165th St                           James Hanley                                   Campsite Equipment                                        No
     Bronx, NY 10456                          25 W 39th St
                                              New York, NY 10018                                                                                       Yes




     Facility name and address                Names of anyone with access to it.             Description of contents                              Does debtor
                                              Address                                                                                             still have it?
20.3 85 N 395 W Highway 89                    James Hanley                                   Campsite Equipment                                        No
     Garden City, UT 84028                    25 W 39th St
                                              New York, NY 10018                                                                                       Yes




     Facility name and address                Names of anyone with access to it.             Description of contents                              Does debtor
                                              Address                                                                                             still have it?
20.4 550 N 2500 W                             James Hanley                                   Campsite Equipment                                        No
     Vernal, UT 84078                         25 W 39th St
                                              New York, NY 10018                                                                                       Yes




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Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own



21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust.
Do not list leased or rented property.

  X None



     Owner's name and address                Location of the property                      Description of the property                             Value




Part 12:     Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
 - Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium)
 - Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
operated, or utilized.
 - Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
harmful substance.


22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

     No
     Yes. Provide details below.


     Case title                              Court or agency name and address              Nature of the case                                  Status of case
                                                                                                                                                    Pending
                                                                                                                                                    On appeal
    Case number                                                                                                                                     Concluded




23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

     No
     Yes. Provide details below.


     Site name and address                   Governmental unit name and                    Environmental law, if known                         Date of notice
                                             address




24. Has the debtor notified any governmental unit of any release of hazardous material?


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     No
     Yes. Provide details below.


     Site name and address                  Governmental unit name and                  Environmental law, if known                        Date of notice
                                            address




Part 13:    Details About the Debtor's Business or Connections to Any Business



25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

  X None

       Business name and address               Describe the nature of                                Employer identification
                                               the business                                          number. Dates business
                                                                                                     existed




26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.


     None

       Name and address                                                                              Dates of service
26a.1 Johnny Chau                                                                                    06/01/17 - Present
      25 W 39th St, Ste 7007
      New York, NY 10018

26a.2 Aaron Feldon                                                                                   07/01/20 - Present
      25 W 39th St, Ste 7007
      New York, NY 10018


26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
financial statement within 2 years before filing this case.


     None

       Name and address                                                                              Dates of service
26b.1 Gutterson & Cohen Tax                                                                          01/01/18 to Present
      Specialists LLC
      445 Broadhollow Rd, Ste
      230
      Melville, NY 11747


26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.


  X None

       Name and address                                                                              If any books of account
                                                                                                     and records are
                                                                                                     unavailable, explain why



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26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
financial statement within 2 years before filing this case.


       None

         Name and address
26d.1 Decathlon Alpha IV, L.P.
      1441 West Ute Blvd
      Park City, UT 84098

26d.2 Various Venture Capital
      Investors


27. Inventories
Have any inventories of the debtor’s property been taken within 2 years before filing this case?
       No
       Yes. Give the details about the two most recent inventories


       Name of the person who supervised                                                               Date of inventory       The dollar amount and basis
       the taking of the inventory                                                                                             (cost, market, or other basis)
                                                                                                                                      of each inventory


         Name and address of the person who has possession of inventory records




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.




         Name                         Address                        Position and nature of            % of interest, if any
                                                                     any interest
28.1     Anand Subramanian            25 W 39th St, Ste 7007         Chief Executive Officer           0.85%
                                      New York, NY 10018

28.2     Blake Lafayette              25 W 39th St, Ste 7007         Board Member
                                      New York, NY 10018

28.3     Chip Meakem                  25 W 39th St, Ste 7007         Board Member
                                      New York, NY 10018


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members
in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

       No
       Yes. Identify below.
         Name                         Address                        Position and nature of            Period during which
                                                                     any interest                      position or interest was held




30. Payments, distributions, or withdrawals credited or given to insiders
Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?
       No
       Yes. Identify below.




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      Name and address of recipient                         Amount of money or description and           Dates                 Reason for providing this
                                                            value of property                                                           value
        See SOFA 4
        Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

     No
      Yes. Identify below.
       Name of the parent corporation                                   Employer identification number of the
                                                                        parent corporation




32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     No
      Yes. Identify below.
       Name of the pension fund                                         Employer identification number of the
                                                                        pension fund




Part 14:       Signature and Declaration

  WARNING       Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years or both.
  18 U.S.C. §§ 152, 1341, 1519, and 3571.

  I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
  is true and correct.

  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on.          3/3/2023
                        MM / DD / YYYY

     /s/ Anand Subramanian                                                     Printed name   Anand Subramanian
  Signature of individual signing on behalf of the debtor


  Position or relationship to the debtor      Chief Executive Officer

  Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No

       Yes




      Official Form 207                     Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy              Page 11
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    STATEMENT OF FINANCIAL AFFAIRS


                     EXHIBIT
                PART 2, QUESTION 3

CERTAIN PAYMENTS OR TRANSFERS TO CREDITORS
   WITHIN 90 DAYS BEFORE FILING THIS CASE
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Tentrr, Inc.
Case No. 23-10000
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

              Creditor’s Name             Dates        Total amount or value Reasons for payment or transfer
    Amazon Web Services                  10/02/2022                 $4,856.09 Paid by Credit Card
    Amazon Web Services                  11/03/2022                 $4,236.45 Paid by Credit Card
    Amazon Web Services                  12/02/2022                 $2,548.24 Paid by Credit Card
    Amazon Web Services Total                                      $11,640.78
    Brex Inc                             10/25/2022                $64,147.44 Credit Card Processing Payment
    Brex Inc                             11/25/2022                $53,619.55 Credit Card Processing Payment
    Brex Inc                             12/27/2022                 $1,409.84 Credit Card Processing Payment
    Brex Inc                             12/27/2022                $43,433.89 Credit Card Processing Payment
    Brex Inc Total                                                $162,610.72
    Chris Yoho                           10/13/2022                 $1,942.80 Logistics Contractors
    Chris Yoho                           10/27/2022                 $1,653.12 Logistics Contractors
    Chris Yoho                           11/9/2022                  $1,950.48 Logistics Contractors
    Chris Yoho                           11/23/2022                 $1,940.88 Logistics Contractors
    Chris Yoho                           12/8/2022                  $1,256.40 Logistics Contractors
    Chris Yoho                           12/21/2022                 $1,993.20 Logistics Contractors
    Chris Yoho                           12/30/2022                 $2,024.88 Logistics Contractors
    Chris Yoho Total                                               $12,761.76
    Decathlon                            10/17/2022                $17,847.27 Loan Repayment
    Decathlon                            11/25/2022                $21,645.85 Loan Repayment
    Decathlon Total                                                $39,493.12
    Demetrio Daga                        10/11/2022                 $2,190.75 Sales Contractors
    Demetrio Daga                        10/11/2022                 $2,197.00 Sales Contractors
    Demetrio Daga                        10/13/2022                 $2,219.25 Sales Contractors
    Demetrio Daga                        10/27/2022                 $2,194.25 Sales Contractors
    Demetrio Daga                        10/31/2022                  $450.00 Sales Contractors
    Demetrio Daga Total                                             $9,251.25
    Facebook Ads                         10/07/2022                 $3,191.01 Paid by Credit Card
    Facebook Ads                         10/10/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         10/13/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         10/17/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         10/22/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         10/26/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/05/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/10/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/14/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/19/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/23/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/27/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         11/30/2022                  $810.54 Paid by Credit Card
    Facebook Ads                         12/03/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         12/06/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         12/09/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         12/12/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         12/15/2022                  $896.03 Paid by Credit Card
    Facebook Ads                         12/18/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         12/21/2022                  $900.00 Paid by Credit Card
    Facebook Ads                         12/24/2022                  $900.00 Paid by Credit Card
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Tentrr, Inc.
Case No. 23-10000
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

               Creditor’s Name              Dates        Total amount or value Reasons for payment or transfer
    Facebook Ads Total                                               $21,097.58
    Freightwise                          10/3/2022                    $2,674.81 Shipping
    Freightwise                          10/11/2022                   $5,426.86 Shipping
    Freightwise                          10/17/2022                   $5,157.29 Shipping
    Freightwise                          10/31/2022                   $2,813.34 Shipping
    Freightwise                          10/31/2022                   $3,725.00 Shipping
    Freightwise                          11/7/2022                    $2,954.33 Shipping
    Freightwise                          11/28/2022                   $1,689.87 Shipping
    Freightwise                          11/28/2022                   $7,715.86 Shipping
    Freightwise Total                                                $32,157.36
    Google Ads                           10/28/2022                   $3,094.67 Paid by Credit Card
    Google Ads                           11/01/2022                   $1,453.12 Paid by Credit Card
    Google Ads                           12/01/2022                    $562.99 Paid by Credit Card
    Google Ads                           12/01/2022                    $857.85 Paid by Credit Card
    Google Ads                           12/02/2022                   $1,674.06 Paid by Credit Card
    Google Ads Total                                                  $7,642.69
    Guesty                               10/02/2022                    $651.07 Paid by Credit Card
    Guesty                               10/09/2022                   $1,809.50 Paid by Credit Card
    Guesty                               10/16/2022                   $5,251.05 Paid by Credit Card
    Guesty                               10/23/2022                   $1,310.86 Paid by Credit Card
    Guesty                               10/30/2022                    $660.88 Paid by Credit Card
    Guesty                               11/03/2022                    $604.26 Paid by Credit Card
    Guesty                               11/09/2022                   $3,555.86 Paid by Credit Card
    Guesty                               11/16/2022                    $336.43 Paid by Credit Card
    Guesty                               11/23/2022                    $199.25 Paid by Credit Card
    Guesty                               11/30/2022                    $239.53 Paid by Credit Card
    Guesty                               12/11/2022                    $639.10 Paid by Credit Card
    Guesty                               12/15/2022                      $95.81 Paid by Credit Card
    Guesty                               12/22/2022                      $33.76 Paid by Credit Card
    Guesty                               12/31/2022                    $118.68 Paid by Credit Card
    Guesty Total                                                     $15,506.04
    Hire Llama                           10/31/2022                  $19,910.00 Professional Fees
    Hire Llama Total                                                 $19,910.00
    Hire Llama, Inc                      12/13/2022                  $13,255.00 Professional Fees
    Hire Llama, Inc Total                                            $13,255.00
    Intuit                               10/3/2022                     $102.25 Payment Processing Fees
    Intuit                               10/3/2022                     $145.25 Payment Processing Fees
    Intuit                               10/4/2022                     $159.75 Payment Processing Fees
    Intuit                               10/12/2022                      $15.00 Payment Processing Fees
    Intuit                               10/17/2022                    $227.75 Payment Processing Fees
    Intuit                               10/17/2022                    $595.50 Payment Processing Fees
    Intuit                               10/18/2022                    $116.50 Payment Processing Fees
    Intuit                               10/19/2022                      $10.00 Payment Processing Fees
    Intuit                               10/21/2022                      $52.15 Payment Processing Fees
    Intuit                               10/21/2022                    $631.48 Payment Processing Fees
    Intuit                               10/24/2022                      $10.00 Payment Processing Fees
    Intuit                               10/24/2022                      $51.25 Payment Processing Fees
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Tentrr, Inc.
Case No. 23-10000
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

              Creditor’s Name              Dates        Total amount or value Reasons for payment or transfer
    Intuit                               10/24/2022                   $561.50 Payment Processing Fees
    Intuit                               10/27/2022                   $145.25 Payment Processing Fees
    Intuit                               10/28/2022                   $344.25 Payment Processing Fees
    Intuit                               10/31/2022                   $102.47 Payment Processing Fees
    Intuit                               10/31/2022                   $145.25 Payment Processing Fees
    Intuit                               11/2/2022                      $68.50 Payment Processing Fees
    Intuit                               11/4/2022                      $10.00 Payment Processing Fees
    Intuit                               11/7/2022                    $174.25 Payment Processing Fees
    Intuit                               11/8/2022                      $10.00 Payment Processing Fees
    Intuit                               11/9/2022                    $174.25 Payment Processing Fees
    Intuit                               11/10/2022                   $145.25 Payment Processing Fees
    Intuit                               11/14/2022                   $174.25 Payment Processing Fees
    Intuit                               11/14/2022                   $188.75 Payment Processing Fees
    Intuit                               11/14/2022                   $499.00 Payment Processing Fees
    Intuit                               11/14/2022                  $1,160.05 Payment Processing Fees
    Intuit                               11/15/2022                   $391.75 Payment Processing Fees
    Intuit                               11/16/2022                   $213.50 Payment Processing Fees
    Intuit                               11/17/2022                     $72.75 Payment Processing Fees
    Intuit                               11/18/2022                     $10.00 Payment Processing Fees
    Intuit                               11/21/2022                   $185.13 Payment Processing Fees
    Intuit                               11/21/2022                   $230.82 Payment Processing Fees
    Intuit                               11/22/2022                     $22.00 Payment Processing Fees
    Intuit                               11/23/2022                   $124.00 Payment Processing Fees
    Intuit                               11/25/2022                      $0.14 Payment Processing Fees
    Intuit                               11/25/2022                     $10.00 Payment Processing Fees
    Intuit                               11/28/2022                   $384.76 Payment Processing Fees
    Intuit                               11/28/2022                   $740.73 Payment Processing Fees
    Intuit                               11/29/2022                     $18.74 Payment Processing Fees
    Intuit Total                                                     $8,424.22
    IPFS                                 10/19/2022                 $11,912.94 Insurance
    IPFS Total                                                      $11,912.94
    IPFS Corporation                     12/29/2022                 $12,528.59 Insurance
    IPFS Corporation Total                                          $12,528.59
    Jay Sears                            10/12/2022                 $10,000.00 Professional Fees
    Jay Sears Total                                                 $10,000.00
    JND                                  10/3/2022                   $4,000.00 Installers
    JND                                  11/1/2022                   $1,200.00 Installers
    JND                                  11/21/2022                  $1,100.00 Installers
    JND                                  11/25/2022                  $1,500.00 Installers
    JND Total                                                        $7,800.00
    Johnny Chau                          10/5/2022                   $8,500.00 Professional Fees
    Johnny Chau                          11/3/2022                   $6,800.00 Professional Fees
    Johnny Chau                          12/8/2022                   $6,800.00 Professional Fees
    Johnny Chau                          12/28/2022                      $4.84 Professional Fees
    Johnny Chau                          12/30/2022                  $6,800.00 Professional Fees
    Johnny Chau Total                                               $28,904.84
    Klaviyo                              10/18/2022                  $2,629.34 Paid by Credit Card
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Tentrr, Inc.
Case No. 23-10000
SOFA 3. Certain payments or transfers to creditors within 90 days before filing this case

              Creditor’s Name                Dates        Total amount or value Reasons for payment or transfer
    Klaviyo                                 11/19/2022                  $2,629.34 Paid by Credit Card
    Klaviyo                                 12/19/2022                  $2,629.34 Paid by Credit Card
    Klaviyo Total                                                       $7,888.02
    Mayerson and Hartheimer                 10/28/2022                  $7,500.00 Legal Fees
    Mayerson and Hartheimer                 11/17/2022                 $10,000.00 Legal Fees
    Mayerson and Hartheimer                 12/19/2022                  $6,500.00 Legal Fees
    Mayerson and Hartheimer PLLC            12/28/2022                 $50,000.00 Paid by Credit Card
    Mayerson and Hartheimer                 12/30/2022                 $25,000.00 Legal Fees
    Mayerson and Hartheimer PLLC Total                                 $99,000.00
    Stripe                                  10/21/2022                 $20,000.00 Transfer To Stripe Account
    Stripe                                  12/5/2022                   $2,000.00 Funds Sent To Stripe For Ck Payouts
    Stripe Total                                                       $22,000.00
    Sutton Ventures (Aaron Feldman)         12/6/2022                   $7,921.88 Professional Fees
    Sutton Ventures (Aaron Feldman)         12/30/2022                  $2,500.00 Professional Fees
    Sutton Ventures (Aaron Feldman) Total                              $10,421.88
    SVB                                     10/11/2022               $157,300.00 Transfer To Payroll Account
    SVB                                     10/25/2022                 $10,700.00 Transfer To Payroll Account
    SVB                                     10/26/2022                     $50.00 Transfer To Payroll Account
    SVB                                     10/28/2022                 $10,680.00 Transfer To Payroll Account
    SVB                                     10/28/2022               $145,530.00 Transfer To Payroll Account
    SVB                                     11/8/2022                   $1,600.00 Transfer To Payroll Account
    SVB                                     11/8/2022                  $48,500.00 Transfer To Payroll Account
    SVB                                     11/10/2022                 $11,330.00 Transfer To Payroll Account
    SVB                                     11/10/2022               $119,100.00 Transfer To Payroll Account
    SVB                                     11/14/2022                  $5,670.00 Transfer To Payroll Account
    SVB                                     11/15/2022                   $500.00 Transfer To Payroll Account
    SVB                                     11/16/2022                  $1,200.00 Transfer To Payroll Account
    SVB                                     11/16/2022                  $1,300.00 Transfer To Payroll Account
    SVB                                     11/21/2022                 $10,500.00 Transfer To Payroll Account
    SVB                                     11/25/2022                 $79,000.00 Transfer To Payroll Account
    SVB                                     11/28/2022                     $50.00 Transfer To Payroll Account
    SVB                                     11/30/2022                   $200.00 Transfer To Payroll Account
    SVB Total                                                        $603,210.00
    The Rosner Law Group LLC                12/28/2022                 $12,000.00 Bankruptcy Expense
    The Rosner Law Group LLC Total                                     $12,000.00
    Grand Total                                                     $1,179,416.79




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      STATEMENT OF FINANCIAL AFFAIRS


                       EXHIBIT
                  PART 2, QUESTION 4

PAYMENTS OR OTHER TRANSFERS OF PROPERTY MADE
   WITHIN 1 YEAR BEFORE FILING THIS CASE THAT
             BENEFITTED ANY INSIDER
                       Case 23-10000-BLS      Doc 109       Filed 03/03/23           Page 26 of 26
Tentrr, Inc.
Case No. 23-10000
SOFA 4. Payments or other transfers of property made within 1 year before filing this case that benefited

      Insider's name and address     Dates        Total amount or value           Reasons for payment or transfer
    Anand Subramanian
    25 W 39th St, Ste 7007
    New York, NY 10018                1/15/2022                     $16,666.67 Payroll
                                      1/31/2022                     $16,666.67 Payroll
                                      2/15/2022                     $16,666.67 Payroll
                                      2/28/2022                     $16,666.67 Payroll
                                      3/15/2022                     $16,666.67 Payroll
                                      3/31/2022                     $16,666.67 Payroll
                                      4/15/2022                     $16,666.67 Payroll
                                      4/30/2022                     $16,666.67 Payroll
                                      5/15/2022                     $16,666.67 Payroll
                                      5/31/2022                     $16,666.67 Payroll
                                      6/15/2022                     $16,666.67 Payroll
                                      6/30/2022                     $16,666.67 Payroll
                                      7/15/2022                     $16,666.67 Payroll
                                      7/31/2022                     $16,666.67 Payroll
                                      8/15/2022                     $16,666.67 Payroll
                                      8/31/2022                     $16,666.67 Payroll
                                      9/15/2022                     $16,666.67 Payroll
                                      9/30/2022                     $16,666.67 Payroll
                                     10/15/2022                     $16,666.67 Payroll
                                     10/31/2022                     $16,666.67 Payroll
                                     11/15/2022                     $16,666.67 Payroll
                                     12/15/2022                     $16,666.67 Payroll
                                     12/31/2022                     $16,666.67 Payroll
                                      1/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      1/31/2022                        $643.08 Draw for Benefits paid to TriNet
                                      2/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      2/28/2022                        $643.08 Draw for Benefits paid to TriNet
                                      3/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      3/31/2022                        $643.08 Draw for Benefits paid to TriNet
                                      4/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      4/30/2022                        $643.08 Draw for Benefits paid to TriNet
                                      5/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      5/31/2022                        $643.08 Draw for Benefits paid to TriNet
                                      6/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      6/30/2022                        $643.08 Draw for Benefits paid to TriNet
                                      7/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      7/31/2022                        $643.08 Draw for Benefits paid to TriNet
                                      8/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      8/31/2022                        $643.08 Draw for Benefits paid to TriNet
                                      9/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                      9/30/2022                        $643.08 Draw for Benefits paid to TriNet
                                     10/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                     10/31/2022                        $643.08 Draw for Benefits paid to TriNet
                                     11/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                     11/30/2022                        $643.08 Draw for Benefits paid to TriNet
                                     12/15/2022                        $643.08 Draw for Benefits paid to TriNet
                                     12/31/2022                        $643.08 Draw for Benefits paid to TriNet
    Grand Total                                                    $398,767.33




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